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Exhibit 2
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Guidance Regarding Petitions for Religious Exemption from the
Controlled Substances Act Pursuant to the Religious Freedom
Restoration Act

In recent years, the Drug Enforcement Administration (DEA) has seen an increase in requests
from parties requesting religious exemptions from the Controlled Substances Act (CSA) to
permit the use of controlled substances. The Religious Freedom Restoration Act (RFRA)
Provides that the “Government shall not substantially burden a person's exercise of religion"
unless the Government can demonstrate "that application of the burden to the person is in

furthering that compelling governmental interest." 42 U.S.C. § 2000bb-l, In Gonzales v. 0
Centra Espirita Beneficente Uniao do Vegetal, 126 S.Ct. 1211 (2006), the Supreme Court held
that government action taken pursuant to the CSA is subject to RFRA. In order to obtain an
exemption under RFRA, a Party must, asa preliminary matter, demonstrate that its (1) sincere
(2) religious exercise is (3) substantially burdened by the CSA. 42 U.S.C. § 2000bb et seq.

The guidelines that follow are an interim measure intended to provide guidance to parties who
wish to petition fora religious exemption to the CSA:

2. Content of Petition, A Petition may include both a written statement and Supporting
documents. A petitioner should provide as much information as he/she deems necessary to
demonstrate that application of the Controlled Substances Act to the party's activity would
(1) be a substantial burden on (2) his/her sincere (3) religious exercise. Such a record should
include detailed information about, among other things, (1) the nature of the religion {e.g.,

its history, belief system, structure, Practice, membership policies, rituals, holidays,

3. Signature, The petition must be signed by the petitioner, who must declare under penalty of
perjury that the information Provided therein is true and correct. See 28 U.S.C. § 1746.

4, Acceptance of Petition for Filing. Petitions submitted for filing are dated upon receipt by
DEA. If it is found to be complete, the petition will be accepted as filed, and the petitioner

Last updated: February 26, 2018
other things. See 217 CER. $§ 1300-1316. A petitioner who seeks exemption from applicable
CSA regulations (as Opposed to the CSA itself) may petition under 21 CFR. § 1307.03. Such
petition must separately address each regulation from which the petitioner seeks

. exemption and provide a statement of the reasons for each exemption sought,

grants or denies the petition. Except in the case of affirming a prior denial or when the
denial is self-explanatory, the response shall be accompanied by a statement of reasons

upon which the decision is based. This written response is a final determination under 27
U.S.C. § 877,

Last updated: February 26, 2018
